Scott Lieske
Chapter 13 Trustee
United States Bankruptcy Court
Eastern District Of Wisconsin

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Milwaukee, WI 53203
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May 17, 2022

Clerk of the US Bankruptcy Court

126 U S Courthouse m
517 E. Wisconsin Avenue Do 3
Milwaukee, WI 53202 mS
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RE: MICHAEL TYRONNE STABLER oe SS m
Case No. 21-22199-RMB aN i
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Dear Clerk of the US Bankruptcy Court: o 2 yor
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the

Enclosed please find check # 1654703 in the amount of $584.00. This check replaces
following check, for the same dollar amount, in the above case:

Original Check No.: 1647476

Original Payee: Michael Tyronne Stabler
7736 West Heather Avenue
Milwaukee, WI 53223

Please deposit these funds as unclaimed funds, as they were returned by the United States
Postal Service or were uncashed by the original payee.

Thank you,
Scatt Lieske

Scott Lieske
Chapter 13 Standing Trustee

SL

ce: file

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